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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
3rd day of January, two thousand twenty-four.

Before:     José A. Cabranes,
            Denny Chin,
            Maria Araújo Kahn,
                   Circuit Judges.
________________________________

 E. Jean Carroll,
                                                  ORDER
              Plaintiff-Counter-Defendant-
 Appellee,                                        Docket Nos. 23-1045(L), 23-1146(Con)

 v.

 Donald J. Trump, in his personal capacity,

              Defendant-Counter-Claimant-
 Appellant.
 ________________________________

       Appellant has filed an application, contained within the pending petition for rehearing or
rehearing en banc, to stay district court proceedings.

       IT IS HEREBY ORDERED that the application is DENIED.


                                                    For the Court:

                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
